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                               UNITED STATES DISTRICT COURT
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                                 DISTRICT OF SOUTH DAKOTA



    SALA NAAMBWE and YVETTE                              Case No.: I7"W/<Z3
    NIMENYA,

                                  Plaintiffs,

    vs.
                                                               COMPLAINT


    SMITHFIELD FOODS,INC.,

                                  Defendant.


                COMES NOW Plaintiffs Sala Naambwe and Yvette Nimenya and bring this

    action for retaliation against the above-named Defendant as follows:

                           THE PARTIES.JURISDICTION AND VENUE

             1) This action arises under Title VII ofthe Civil Rights Act of 1964, as amended,42
     U.S.C. § 2000e etseq. ("Title VII").

             2) Plaintiff Sala Naambwe is an adult resident of Minnehaha County, South Dakota.
             3) Plaintiff Yvette Nimenya is an adult resident of Minnehaha County, South
     Dakota.


             4) Smithfield Foods,Inc. ("Smithfield")is a global meat-processing company that
     sells its products under various names such as John Morrell and Smithfield. It is subsidiary
     of WH Group of China and is headquartered in Virginia, but owns and operates a meat-
     processing plant in Sioux Falls, South Dakota.

             5) At all times relevant to this Complaint,the Plaintiffs have been "employees" of
     Smithfield at its Sioux Falls plant within the meaning of42 U.S.C. § 2000e(f).

             6) Jurisdiction over this matter is pursuant to 28 U.S.C. § 1331 and § 1343(a)(3).
             7) Venue over this matter is pursuant to 28 U.S.C.§ I39I(b)(l)-(2).
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^                                  FACTUAL ALLEGATIONS
           8) Sala Naambwe("Sala")is originally from the Democratic Republic of Congo
    and legally emigrated to the United States as a result of suffering shocking violence as a ^
    victim of genocide and civil war in her country of origin.

           9) Yvette Nimenya("Yvette")is originally from Rwanda and legally emigrated to
    the United States after suffering shocking violence as a victim of genocide and civil war in
    her country of origin.

           10) In 2011, Yvette was hired by Smithfield to work in its Sioux Falls meat-
    processing plant on its pork processing line.

           11) In 2013, Sala was hired by Smithfield to work in its Sioux Falls meat-processing
    plant on its pork processing line.

           12) Both Sala and Yvette have performed their assigned duties in a manner that
    meets Smithfield's performance expectations.

            13) In February 2016, while working with a co-worker("Employee #30755")on a
    production line, the co-worker became openly aggressive and physically threatening toward
    Sala and Yvette, saying,"Bitch, open the f***ing sock like this," "fiick like this" and then
    hollered,"If you can't do a f***ing good job, you must go back to your f^**ing country
    where you came from, Africa!" When Sala and Yvette responded to his outburst by
    expressing in their native language that they were frightened and wanted to pray. Employee #
    30755 hollered at them to "shut the f*** up in your language and speak f^**ing English."

    When Sala responded,"This is a free country and people are allowed to speak their own
    language," Employee #30755 proceeded to push meat dangerously fast at Sala, causing her
    to be struck with a piece of meat that fell offthe line onto her feet. He then announced to the
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other workers in the room that he was "doing this for these monkeys" in reference to Sala

and Yvette.


       14) The next day, Sala and Yvette promptly reported the incident to their direct
supervisor pursuant to Smithfield company policy. He told them that they needed to report

the incident to Human Resources on the following Monday.

       15) The folio-wing Monday, Sala, Yvette and one other co-worker who was

offended and frightened by Employee #30755's offensive comments and threatening

behavior informed their supervisor that they intended to report it to the Smithfield Human

Resources staff.


       16) Sala, Yvette and their co-worker went to report the incident to a Smithfield

Human Resources representative on an assigned break time.

       17) While they were making their report, their supervisor came in, and he and the

Human Resources representative yelled at and berated the three women for being in the

Human Resources department. The Human Resources representative then issued a warning

to Sala,Yvette and their co-worker for being in the Human Resources department instead of

working. She did not address their report and said "Go back to work. Who told you to come

over here?"


       18) By the time Sala and Yvette returned to work from the Human Resources office.
Employee #30755 laughed at them,taunted them as he expressed that he knew that they had
been disciplined for reporting him for his discriminatory treatment.

        19) Plaintiffs' Smithfield manager and Human Resources representative knew or

should have known htat both Plaintiffs have survived extreme physical, emotional and verbal
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abuse and that they have a need to work in the safe, non-discriminatory environment that

Smithfield represents it provides to its employees via its written policies.

       20) Smithfield's disciplinary action against the Plaintiffs negatively impacted the

Plaintiffs pay and ability to receives pay raises and promotions in the future.

       21) Plaintiffs believe that they were disciplined and yelled at in an attempt to

discourage them from reporting the other discriminatory acts and policy violations that they

have observed in the Smithfield workplace because Smithfield's management in the Sioux

Falls plant does not want to have to enforce its written policies.

       22) To the best of Plaintiffs' knowledge, Employee #30755 was not disciplined for

his discriminatory, harassing and threating behavior toward the Plaintiffs.

       23) Following Sala's and Yvette's attempt to report discriminatory and physically

threatening behavior to Smithfield's Human Resources department, Sala and Yvette was

subjected to repeated acts of reprisal, including, but not limited, to the following:

            i) Sala and Yvette are subject to harsher work rules than similarly situated
               employees who did not engage in protected activity;

            ii) Sala and Yvette were reassigned to work in close quarters with a male co-
                worker who Smithfield had previously moved from their shift because he was
                sexually harassing them;

            iii) Sala has been repeatedly subject to written reprimands for actions that
                 similarly situated employees who have not engaged in protected activities are
                not disciplined for;

            iv) Sala has been assigned to perform tasks that normally require 2 employees to
                safely perform; and

            v) Sala and Yvette are ostracized by the co-workers they work with because of
               their protected activity, which creates a physically dangerous situation when
                co-workers refuse to communicate with them.
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          24) To the best ofPlaintiffs' knowledge, Smithfield managers are trying to make

their work environment so hostile, dangerous and stressful that they will voluntarily leave

employment.

                                    CAUSES OF ACTION


                 COUNT 1: REPRISAL IN VIOLATION OF TITLE VII



       25) Plaintiff re-alleges the facts asserted in paragraphs 1-24 ofthis Complaint.

       26) As described above. Plaintiffs were disciplined, subjected to different work

conditions and effectively demoted in violation of Title VII, and Smithfield has continued to

subject them to retaliation by a hostile work environment because oftheir protected

activities.


       27) Plaintiffs were compensated differently than similarly situated employees who

are not ofthe same national origin or race as the Plaintiffs.

       28) As a direct and proximate result of Smithfield's unlawful conduct, the Plaintiffs

have suffered past and future lost income, mental anguish, physical harm, distress,

embarrassment, loss ofreputation and other damages in excess of $75,000.

       29) Plaintiffs are entitled to attorney fees and costs in relation to asserting their

statutory rights.

       30) Plaintiffs are entitled to an award of punitive damages as allowed by law because

ofthe Defendant's reckless disregard and/or deliberate indifference to their rights and

safety.

                COUNT 2:       RACE AND NATIONAL ORIGIN DISCRIMINATION
                               IN VIOLATION OF TITLE VII

       31) Plaintiffs re-allege the facts asserted in paragraphs 1-29 ofthis Complaint.
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        32) Smithfield's conduct described herein violates 42 U.S.C. § 2000e-2.

        33) As a direct and proximate result of Smithfield's tolerance and ratification of

 discriminatory animus based upon race and national origin, the Plaintiffs have suffered past

 and future employment income, mental anguish, physical harm, distress, embarrassment,

 loss ofreputation and other damages in excess of $75,000.

       34) Plaintiffs are entitled to attorney fees and costs in relation to asserting their

 statutory rights.

       35) Plaintiffs are entitled to an award of punitive damages as allowed by law because

 of Defendant's reckless disregard and/or deliberate indifference to their rights and safety.

                                      RELIEF REQUESTED


        WHEREFORE,Plaintiffs requests the following judgment against the Defendants as

follows:


           1) That the discriminatory and retaliatory employment practices complained ofin
              this Complaint be determined to violate the rights secured to the Plaintiffs
              under Title VII;

           2) For all relief available to the Plaintiffs, including compensatory damages
              consisting oflosses for suffered past and future employment income, mental
              anguish, physical harm, distress, embarrassment, loss ofreputation and other
              damages in excess of $75,000;

           3) For punitive damages in an amount this Court considers to be just, reasonable
              and fair;

           4) For attorney fees and reasonable costs and disbursements pursuant to Title VII;
              and


           5) For such other just and further relief as the Court deems fair and equitable
              under the circumstances.


Dated this 6^ day of September, 2017.
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                                         149
                                        SD 57533
                                605/835-8391
                                Stephanie@Rosebudlaw.com
                                Attorneyfor Plaintiffs Sola Nimaabwe and
                                Yvette Nimenya
